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             IN THE UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF MICHIGAN
                     SOUTHERN DIVISION

Michael Gooding,
                                           Case No.: 2:17-cv-12489-AJT-APP
                 Plaintiff,
                                           Honorable Arthur J. Tarnow
      vs.
                                           Magistrate Judge David R. Grand
Equity Experts.Org, LLC.

                 Defendant.



             NOTICE OF SETTLEMENT WITH DEFENDANT
                  EQUITY EXPERTS. ORG, LLC

      Plaintiff and Defendant, Equity Experts.Org, LLC., have agreed to settle this

lawsuit and intend to file a Stipulation of Dismissal as to Equity Experts.Org, LLC.,

with prejudice, no later than September 31, 2020.


                                             Respectfully submitted,

                                             By: /s/ Gary D. Nitzkin
                                             GARY D. NITZKIN P41155
                                             CARL SCHWARTZ P70335
                                             MARK LAHTI P36656
                                             Attorneys for Plaintiff
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August 4, 2020
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                             PROOF OF SERVICE

       I, Gary D. Nitzkin, hereby state that on August 4, 2020 I served a copy of
the foregoing pleading upon all counsel of record via the ECF System.


                                            /s/ Gary D. Nitzkin
